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HOPKINS RODEN CROCKETT
  HANSEN & HOOPES, PLLC
Gregory L. Crockett, ISBN 1640
428 Park Avenue
Idaho Falls, Idaho 83402
Telephone: 208-523-4445
Facsimile: 208-523-4474
Email: ciregcrockettchopkinsroden.com

Attorneys for Bank of Idaho


                    UNITED STATES BANKRUPTCY COURT

                               DISTRICT OF IDAHO

   IN RE:

  SAFE HAVEN HEALTH CARE,                             Case No. 18-01044-JDP
  INC.,
                                                      Chapter 11
               Debtor.



      MOTION FOR ADEQUATE PROTECTION OR RELIEF FROM THE
                  AUTOMATIC STAY AND NOTICE
                        (11 U.S.C. § 362)


            COMES NOW, Bank of Idaho (hereinafter “BOI”), a secured creditor,

by and through its attorney, Gregory L. Crockett, of the law firm of Hopkins Roden

Crockett Hansen & Hoopes, PLLC, Idaho Falls, Idaho, and pursuant to Local

Bankruptcy Rule 4001.2, moves this court for relief from the automatic stay of

Bankruptcy Code,   § 362   (11 U.S.C.       § 362),   as to property described herein, or in



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    the alternative, for adequate protection and in support thereof represents as

    follows:

                 1. The above named debtor, SAFE HAVEN HEALTH CARE, INC.,

    filed a Petition under Chapter 11 of the Bankruptcy Code on August 10, 2018.

                 2.     BOl is a banking institution with its principal place of business

    in Idaho Falls, Idaho.

                 3.     BOl is a party in interest herein and is a secured creditor of the

    debtor.

                 4.     BOl likewise holds a security interest against the Master Lease

    Agreement and Nonrecourse Promissory Note of Bancleasing, LLC dated May 4,

    2015; wherein the debtor is the Lessee of furniture, fixtures and equipment

    particularly described in Acceptance Certificates 1-21, 23-25.

                 5.     BOl seeks relief from the stay as to acts against real and

    personal property owned by debtor described herein as follows:
                                                 5th
•                       Real estate at 2520 S.         Avenue, Pocatello, Idaho 83204

                        Furniture, fixtures and equipment pursuant to a Lease

                 6.     BOl has a first priority security interest in the above-described

‘property (“collateral”) which includes all accessions, replacements, products and

    proceeds thereof.

                 7.     The amount of the debt owed to BOl by the debtor and

‘secured by real estate is the sum of $134,804.83, plus interest from and after



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    August 28, 2018. Interest accrues at the rate of $21 .6811 per day. The debt is

    fully secured.

•                8.        The total cumulative value of such property is equal or more

    than the debt owed to BOl and BOl is fully secured if the subject executory lease

    is accepted by the Debtor

•                9.        The subject collateral is likely necessary to an effective

    reorganization.

                  10.      BOl lacks adequate protection and requests adequate

‘protection payments.

                  11.      In accordance with BOl’s security interest in said property, BOl

    is entitled to enforce its rights and remedies under state law to satisfy its

    ‘indebtedness and the subject Master Lease Agreement.

                  12.      BOl is entitled to immediate relief from the Automatic Stay

    Order as to all actions under state law to enforce its rights and remedies as

    ‘against the property set forth and described in herein, or in the alternative, to

    adequate protection and lease payments in an amount to be determined; but not

    less the interest on its debt plus lease payments of $7,737.62 per month.

                     13.   BOI is entitled to recover its costs and reasonable attorneys

    fees incurred and to be incurred herein in accordance with the agreements

    between the parties, BOl’s promissory notes and applicable Idaho law.




     MOTION FOR ADEQUATE PROTECTION OR RELIEF FROM THE
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             WHEREFORE, BOl prays for the judgment, order and decree of this

court, as follows:

             1.      That the automatic stay order of 11 U.S.C.   § 362   be modified

and vacated as it relates to the real and personal property collateral described

hereinabove;

             2.      That BOl be granted a waiver of the ten (10) day waiting

period provided under Bankruptcy Rule 400 1(a)(3).

             3.      That BOl be awarded its costs and reasonable attorney fees

incurred in these proceedings; and

             4.      That BOl be awarded such other and further relief as the court

may deem just and equitable in the premises.

               DATED this 17th day of September, 2018.

                                        HOPKINS        )ENCROCKL



                                         GregcL. ocVft
                                         Attorn’ sf*Bahkofldaho




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               NOTICE OF PENDING MOTION FOR STAY RELIEF

             NOTICE IS HEREBY GIVEN that the stay of actions will terminate by

operation of law thirty three (33) days after date of service by mail of this Motion

pursuant to 11 U.S.C.   § 362 (e) and   Rule 9006, of the Bankruptcy Rules. In such

case the stay can only be extended if the court, after notice and hearing, which

you have to request, is held before the expiration of said thirty three (33) days

and the stay is ordered extended by the court. You are further notified in the

event no hearing is held within the thirty three (33) days after service by mail of

this Motion, that the moving party herein may request, without further notice, an

order from the court declaring that the stay against actions against the above

described property has been terminated.

             NOTICE IS FURTHER HEREBY GIVEN that any party in interest

opposing the motion must file and serve an objection thereto not later than

seventeen (17) days after the date of service of the motion. The objection shall

specifically identify those matters contained in the motion that are at issue and

any other basis for opposition to the motion. Absent the filing of a timely

‘objection, the court may grant the relief sought without a hearing. The objection

must be served on the moving party and upon all parties receiving service of the

motion in accordance with LBR 4001 .2(d)(3). A party opposing a motion shall

•contact the court’s calendar clerk to schedule a preliminary hearing. The

objection to a motion shall include the notice of such hearing.



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                DATED this 17th day of September, 2018.

                                             HOPKINS RODEN CROC ETT




                                               Attor79’ys fnk of Idaho

                                 CERTIFICATE OI4JSERVICE

             I hereby certify that on the 1 7th day of September, 2018, I filed the
foregoing electronically through the CM/ECF system, which caused the following
parties or counsel to be served by electronic means, as more fully reflected on
the Notice of Electronic Filing. Additionally, a copy of the foregoing was served
on the following parties by first class mail,                  as nojd below.



                                             Gregory     Crkk’tt

 Matthew T. Christensen, Esq.                             U.S. Mail
 Angstman Johnson, PLLC                                   ECF Notice
 3649 N. Lakeharbor Lane                                  Hand Delivery
•Boise, ID 83703                                    ci    Facsimile
Attorney for Safe Haven Health Care, Inc.
Email: mtcangstman.com

 Safe Haven Health Care, Inc.                       •     U.S. Mail
 8050 West Northview                                ci    ECF Notice
.Boise, ID 83704                                    O     Hand Delivery
                                                    ci    Facsimile

R. Fred Cooper, Esq.                                ci    U.S. Mail
770 S. Woodruff Ave.                                •     ECF Notice
Idaho Falls, ID 83401                               ci    Hand Delivery
• Attorney for Hands of Hope Home Health &          ci    Facsimile
  Hospice
Email: rfclawida.net




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William M. Humphries, Esq.                            o     U.S. Mail
U.S. Attorney’s Office                                •     ECF Notice
  District of Idaho                                   O     Hand Delivery
Washington Group IV                                   0     Facsimile
800 E. Park Blvd., Ste. 600
Boise, ID 83712
Attorney for Internal Revenue Seivice & U. S.
 Small Business Administration
Email: bilI.humphriesusdoi.gov

John J. Janis, Esq.                                   o      U.S. Mail
POB 2582                                              •      ECF Notice
Boise, ID 83701-2582                                  o      Hand Delivery
Attorney for Betty Grant                              O      Facsimile
• Email: iohnaniscaol.com

John F. Kurtz, Jr., Esq.                              o      U.S. Mail
Hawley Troxell Ennis & Hawley, LLP                    •      ECF Notice
POB 1617                                              o      Hand Delivery
Boise, ID 83701-1617                                  o      Facsimile
‘Attorney for Omega Healthcare, Idaho
 Associates & Pocatello Idaho Property
 Email: ikurtz(hawleytroxel.com

 Robert J. Maynes, Esq.                                O     U.S. Mail
 Maynes Taggart, PLLC                                  •     ECF Notice
 POB 3005                                              o     Hand Delivery
 Idaho Falls, ID 83403-3005                            o     Facsimile
Attorney for Citizens Community Bank
 Email: mayneslaw(ähotmaiI.com

 David Henry Leigh, Esq.                               o     U.S. Mail
 Ray Quinney & Nebeker, P.C.                           •     ECF Notice
 POB 45385                                             o     Hand Delivery
 Salt Lake City, UT 84111                              o     Facsimile
 Attorney for ZB, N.A.
 Email: dleigh@rqn.com

•Chad Moody, Esq.                                      O     U.S. Mail
 Angstman Johnson                                      •     ECF Notice
 3649 N. Lakeharbor Ln.                                o     Hand Delivery
 Boise, ID 83703                                       o     Facsimile
 Attorney for Safe Haven Health Care, Inc.
 Email: chadangstman.com

 MOTION FOR ADEQUATE PROTECTION OR RELIEF FROM THE
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David Wayne Newman                                    O     U.S. Mail
Office of the US Trustee US Dept                      •     ECF Notice
720 Park Blvd., Ste. 220’                             O     Hand Delivery
Boise, ID 83712                                       o     Facsimile
Attorney for US Trustee
Emai): ustp.region 18. bs.ecf@usdoj.gov

Randall A. Peterman, Esq.                             o      U.S. Mail
Givens Pursley, LLP                                   •      ECF Notice
601 W. Bannock St.                                    o      Hand Delivery
POB 2720                                              o      Facsimile
Boise, ID 83702
‘Attorney for ZB, N.A.
 Email: rapgivenspursIey.com

 Brent R. Wilson, Esq.                                o      U.S. Mail
 Hawley Troxell Ennis & Hawley, LLP                   •      ECF Notice
 POB 1617                                             o      Hand Delivery
‘Boise, ID 83701-1617                                  0     Facsimile
 Attorney for Omega Healthcare, Idaho
 Associates & Pocatello Idaho Property
 Email: bwiIsonhawleytroxeIl.com




 MOTION FOR ADEQUATE PROTECTION OR RELIEF FROM THE
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Type: hk                        Chapter: II v                       Office: I (Boise)
Assets: y                       Judge: JDP                          Case Flag: PinDue, DsclsDue,
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                                                                                                   U.S. Bankruptcy Court

                                                                                                      Disirict of Idaho

Notice of Electronic Filing

The following transaction was received from Gregoey L Crockett entered on 9/17/2018 at 1:23PM MDT and filed on 9/17/2018
Case Name:           Safe Haven Health Care, Inc.
Case Number:          I8-010444DP
Document Number:

Docket Text:
Motion for Adeqoate Protection or Relieffrom the Aassmatic Slay and Notice Filed by Creditor Bank of Idaho (Crockett, Gregory)

The following document(s) are associated with this transaction:

Document description:Maitr Document
Original filename:Motion for Adequate Protection or Relief from the Aulomntic Slay and Notice (DOCOI 9BF9IF).pdf
Electronic document Stamp:
(STAMP bkecfStamp_ID=1086198020 (Date9/l7/20l 81 (FileNambes95677S9-O
] [5874ea4d4f4822cleb48f837afea2eea162c55d657c4afc leOd95aeedc0cb6986cd
3 lb2ccd40l I2l5ombIc6bdOdb5a9O5Oecl84ldIO97c43edbfDedd4eabcfcjJ

18-01044-JDP Notice will be electronically mailed to:

Matthew Todd Christensen on behalf of Debtor Safe Haven Health Care, Inc.
mtc@arsgstrnan.com,

R Fred Cooper on behalf of Creditor Hands of Hope Home Health and Hospice
rfclow@ida.net, rfredcooperlaw@gmoil.com

Gregory L Crockett on behalf of Creditor Bank of Idaho
gregcrocken@hopkinsroden.com. tammytheiler@hopkinsroden.com

 William M Humphnes on behalf of Creditor Internal Revenue Seevice
 bill.homphries@asdoj.gov, jeasica.block@usdoj.gov

 William M Humphries on behalf of Ceeditor U.S. Small Business Administration
 bill.homphries@usdoj.gov, jessica.blnck@usdoj.gov

John J louis on behalf of Creditor Betty Grant
johnjanis@aol.com

 John F Kartz, Jr on behalf of Creditor Iduho Associates, LLC
 jkurtz@hawleytroxell.com. tnmiller@hawleytroxell.com

 John F Kartz, iron behalf of Creditor Omega Healthcare Investors, Inc.
 jkartz@hawleytruxell.com, tnrniller@hawleytroxell.com

 John F Kartz, Jr on behalf of Creditor Pocatello Idaho Property, LLC
 jkurtz@hawleytroxell.com, tnmiller@hawleytroxcll.com

 David Henry Leigh on behalf of Creditor ZB, N.A.
 dleigh@rqn.com, dburton@rqn.com;docket©rqn.cam

 Robert I Maynes on behalf of Creditor Citizens Community Bank
 mayneslaw@hormail.com, rosie.mayneslawgmail.com;mayneslaggartecfgmail.com;mayneutaggart@gmail.com

 Chad Moody on behalf of Debtor Safe Haven Health Care, Inc.
 chad@angstman.com, govai@angslman.com:megan@angstniari.cam;ecf@angstrnan.com

 David Wayne Newman on behalf of U.S. Trustee US Trustee
 ustp.regionl 8.bs.ecf@asdoj.gov

 Randall A Peterman on behalf of Creditor ZB, N.A.
 rap@givenspursley.com, kaalgivempursley.com;wandowhite@givenspuesley.com

 Janine Patrice Reynard on behalf of Creditor Rebecca Taylor
 jpr@magicvalleylow.com

 tJS Trustee
 nstp.regionl8.bs:ecf@usdoj.gov

 Brent Russel Wilson on behalf of Creditor Idaho Associates, LLC
 bwilson@hawleytroxell.com, cdavenport@howleylroxell.com

 Brent Russel Wilson on behalf of Credilor Omega Healthcare InveSlors, lire.
 bwilsan@hawleytroxe1l.com, cdnvenporthawleylroxell.com

 Brent Rossel Wilson on behalf of Credilor Pocalello Idaho Property, LLC
 hwilson@hawleytroxell.com, cdavenport@hawIeytroxell.com

  18-01044-JDP Notice will not be electronIcally mailed to:

  Matthew Christensen
  Angstmass Johnson & Associates, PLLC
  3649 N. Lakeharbor Lane
  Boise, ID 83703




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